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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
NATIONAL TREASURY                   )
EMPLOYEES UNION, et al.,            )
                                    )
                        Plaintiffs, )
                                    )
        v.                          )
                                    )                 Civil Action No. 25-0381 (ABJ)
RUSSELL VOUGHT                      )
in his official capacity as         )
Acting Director of the              )
Consumer Financial                  )
Protection Bureau, et al.,          )
                                    )
                        Defendants. )
____________________________________)


                                              ORDER

         On April 1, 2025, defendants filed a motion in this court [Dkt. #97] (“Defs.’ Mot.”)
seeking a stay of the Court’s March 28 preliminary injunction [Dkt. # 88] (“the Order”) for the
first time.

        To the extent defendants seek a stay of the requirement in the Order that they inform the
Court of their compliance with its terms by Friday, April 4, the motion is GRANTED IN PART;
that obligation is hereby STAYED, with plaintiffs’ consent, see Pls.’ Mot. for Briefing Schedule
[Dkt. # 92] at 2; Pls.’ Opp. to Defs.’ Mot. [Dkt. # 98] at 4–5, pending the outcome of the motion
for emergency stay pending before the Court of Appeals. The rest of the motion is DENIED, but
without prejudice to a motion that proposes reasonable and appropriate modifications to the
preliminary injunction that preserve its day-to-day managerial discretion. The parties met and
conferred in the past and agreed to terms that governed the period between the filing of plaintiffs’
motion for a temporary restraining order (“TRO”) and the ruling on the motion for preliminary
injunction, and the Court encourages them to do so again.

       The Court must consider four factors in connection with a motion to stay pending appeal:
(1) whether the movant has made a strong showing that it is likely to succeed on the merits; (2)
whether the movant will be irreparably injured absent a stay; (3) whether issuance of the stay will
substantially injure the other parties interested in the proceeding; and (4) where the public interest
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lies. Nken v. Holder, 556 U.S. 418, 434 (2009). The Supreme Court has explained that the first
two factors “are the most critical.” Id.

         Defendants say very little about most of this, and for all of the reasons set forth in the
Memorandum Opinion, [Dkt. #87] (“Mem. Op.”), the defendants cannot make the necessary
showing. First, the Court found that the defendants’ objections to its exercise of jurisdiction are
unsupported, and after a detailed analysis of the testimony and agency records introduced by both
sides, it found that plaintiffs are likely to succeed on the merits of their claims, including the claim
that the defendants are in fact engaged in an effort to shut down the agency in violation of law
notwithstanding their denials. See Mem. Op. at 61–101. This is not just a typical pause while the
new administration considers and readjusts agency priorities.

        Second, the defendants cannot point to any injury, much less any irreparable injury, that
would flow from compliance with an injunction that requires that the agency continue to exist as
Congress mandated and to perform its statutorily required duties, including in particular, the duties
assigned to the Office of Consumer Response, while the merits of plaintiffs’ claims are being
litigated.

        What is striking about the defendants’ motion is that they pay very little attention to the
merits of the case at all. They do not seem to dispute that they lack the ability to close the agency
established by Congress on their own. Instead, the focus of the attack is the claimed breadth of
the remedy. But their description of the Order is at odds with the terms of the Order, and their
description of the ruling that prompted it is inaccurate as well.

         Defendants assert in their motion and in the motion filed with the Circuit that “[t]he order
does not track any specific CFPB duties Congress made obligatory.” Defs.’ Mot. at 2. But a key
provision in the Order is directly tied to the statute and even cites the relevant provision:
“Defendants shall ensure that in accordance with 12 U.S.C. § 5492(b)(3), the CFPB Office of
Consumer Response continues to maintain a single, toll-free telephone number, a website, and a
database for the centralized collection of consumer complaints regarding consumer financial
products and services, and that it continues to monitor and respond to those complaints, including
by providing Elevated Case Management.” Order at 2–3. Moreover, the Order calls for the
reinstallation of the Private Student Loan Ombudsman, a position specifically called for by the
statute that has been vacant since February 13. Order at 2; see Mem. Op. at 18.

        Defendants imply that all the Court needed to do was say: keep fulfilling your statutory
duties pending the outcome of this case. See Defs.’ Mot. at 1–2. But they seem to forget that when
the plaintiffs proposed an order that simply required them not to interfere with the employees’
performance of their statutory duties, the defendants objected to that order on the ground that it
was too broad, too vague, and unenforceable. So the Court had to get specific.


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        Defendants announce that “[t]he Government has repeatedly explained that, absent
congressional action, the Bureau will continue to perform mandatory statutory duties,” Defs.’ Mot.
at 1, and that it was doing so when the Court issued its order. See id. at 2 (“The Government is
likely to succeed in challenging the preliminary injunction[,] because the Bureau will continue to
perform its statutory duties . . . .”). See also id. at 3 (“Defendants . . . continue to view this Court’s
intervention and supervision as unnecessary to preserve Defendant CFPB’s existence and
continued operation.”). The defendants’ insistence that they should be free to run the agency and
implement the statutory requirements without court interference comes a little too late; the
evidence the Court of Appeals has not yet seen shows that the defendants made the choice not to
run the agency at all – to close it down and fire all of the employees – and that the Reduction in
Force (“RIF”) notices are ready to go if the injunction is lifted.

         As the defendants put it, this Court “believed” that absent preliminary relief, the CFPB
would be dismantled completely before the case came to its conclusion, but that “belief . . . is
incorrect and based on outdated evidence since clarified by the current agency leadership.” Id.
at 4, citing Suppl. Decl. of Adam Martinez [Dkt. # 47-1].

           Saying something does not make it so. Nor does saying it “repeatedly.” Defs.’ Mot. at 1,
3, 7, 8.

        Apparently, the defendants have not read the entire Memorandum Opinion. It does not
predicate the need for an injunction or base its ruling on a “belief.” It does not predicate the need
for an injunction on outdated evidence. It held two full days of evidentiary hearings involving
three witnesses, including Mr. Martinez, and it reviewed every single document submitted by
either side. It found that the cited statements in the declaration the defendants are relying on again
were not worthy of belief.

       Defendants repeat the theme they tried to advance in opposition to the TRO that “it is not
uncommon for agency leadership to reevaluate . . . policy choices at the start of a new
administration.” Defs.’ Mot. at 6. They accuse the Court of being unable to distinguish between
a “temporary directive asking employees to briefly pause” during a transition and the “wholesale
elimination of an agency.” Id. But as recounted in detail in the Memorandum Opinion, the
defendants have consistently attempted to blur the distinction between the initial transition emails
issued by Acting Director Bessent on February 3 and by Acting Director Vought on February 8,




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which the Court did not find to be problematic, and the stop work order issued on February 10,
which is the focus of the Order. 1

         Defendants challenge the scope of the Order, asserting that the Court “imposed sweeping
restrictions and affirmative requirements affecting administration of all routine Bureau operations,
personnel decisions, and contract management.” Defs.’ Mot. at 2; see also Defs.’ Mot. at 4
(“[A]gencies that remain fully ‘open’ possess broad discretion to allocate resources and make
personnel decisions . . . .”). The Order in this case does prohibit the agency from sending out the
notices that have already been prepared and approved by OPM for all agency employees except
the few needed to effectuate the RIF and which would leave no open positions behind. But that is
not a routine operation. As to routine workplace management, the Order includes explicit language
authorizing the agency to take ordinary employment actions with respect to individual employees.
And the Order fully permits the agency to turn off contracts if it determines they are not needed to
support statutorily mandated functions. The requirement that they not be terminated entirely,
though, is necessary to ensure that it will not take the initiation of a two-year procurement process
to turn them back on if plaintiffs succeed in establishing that defendants’ effort to eliminate the
agency was unlawful.

        Finally, the defendants take issue with what they describe as the Court’s
“inexplicabl[e]” decision to require the Bureau “to adopt specific information-technology
policies.” Defs.’ Mot. at 6. This is also a blatant mischaracterization of the Order. The evidence
showed that the defendants were engaged in negotiations to cancel the lease for its headquarters.
The record reflects that there are government-wide policies against remote work. The record also
reflects that shortly before the hearing on this motion, the agency cancelled the contract for the
only technology available for remote work at the CFPB. Therefore, it was necessary, and hardly
inexplicable, to require that if employees are going to work, they have to be provided with either
office space or laptop computers equipped with software that can connect securely with the agency.
But the Court did not dictate the particular technology to be selected; it said it could be the brand
of virtual desktop that had recently been cancelled “or another similar program.” Order at 2.

       In short, the Order is hardly as onerous or unsupported as defendants would have this Court
and the Court of Appeals believe. As noted above, though, the Court would be open to further



1       Defendants state that the Court “failed to meaningfully grapple” with the fact that
employees “ignored the plain language of the email instructing them to seek approval for urgent
and critical CFPB obligations.” Defs.’ Mot. at 7. But the Court specifically found that it is the
defendants who are ignoring the plain text of the February 10 order and that their eleventh-hour
attempt to recharacterize it as something else on the Sunday afternoon before the hearing was
disingenuous and unpersuasive.


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discussion about how it could or should be tailored, but it will not lift the order before those
questions are resolved.

         That is because, returning to the Nken v. Holder factors, staying the action would
substantially injure the plaintiffs. The defendants would be free to move swiftly to take the steps
that would eliminate the agency in thirty days, which the Court has already found they are poised
to do, and that would cause plaintiffs irreparable harm. Indeed, during the hearing on the motion
for preliminary injunction, defendants’ only witness, the Chief Operating Officer of the CFPB,
testified, “I now realize how much damage can be done . . . just within a couple of days.” Tr. of
Evidentiary Hr’g (Mar. 10, 2025) [Dkt. # 73] at 74. Given the devastating consequences that
would ensue if a stay were entered and the defendants were relieved of their obligation to comply
with the Order, the public interest lies decidedly against a stay.

       SO ORDERED.




                                                     AMY BERMAN JACKSON
                                                     United States District Judge


DATE: April 3, 2025




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